Case 2:22-cv-00149-DAK-DBP Document 2-17 Filed 03/04/22 PageID.136 Page 1 of 7




                                EXHIBIT P
                                 Footnote 28
  Yahoo News: “Dr. Fauci Just Issued This Urgent Warning to Vaccinated People”
           Case
3/1/22, 3:35 PM    2:22-cv-00149-DAK-DBP Dr.
                                         Document          2-17
                                             Fauci Just Issued This Filed  03/04/22
                                                                    Urgent Warning         PageID.137
                                                                                   to Vaccinated People Page 2 of 7

                                                                                                                                                         Sign in     Mail




   Dr. Fauci Just Issued This Urgent Warning to
   Vaccinated People
                            Kali Coleman
                            November 12, 2021 · 4 min read
       Anthony Fauci




                            © Provided by Eat This, Not That!



                            In this article:

                                      Anthony Fauci
                                      American immunologist and head of the U.S. National Institute of Allergy and Infectiou



                            The U.S. has been fighting the COVID pandemic for nearly two
                            years now. While we all hoped that the virus would be
                            eradicated by now, a full year since the introduction of highly
                            effective vaccines, slowing vaccination rates and a fast-
                            spreading variant kept the pandemic in full swing over the
                                                                                                                                  TRENDING
                            summer. According to the Centers for Disease Control and
                                                                                                                               Disabled dancers are 'changing
                            Prevention (CDC), only 58.5 percent of the U.S. population is                                      perspectives'
                                                                                                                               Yahoo Life · 3 min read
                            fully vaccinated, leaving more than 60 million people
                            unvaccinated despite being eligible. But while health officials                                    Jamie Lee Curtis, 63, on why she
                                                                                                                               doesn't look in the mirror much:
                            caution that the unvaccinated are most at risk right now, some                                     'I am trying to live in acceptance'
                                                                                                                               Yahoo Life · 2 min read
                            experts now say that vaccinated people should also be on high
                            alert.                                                                                             Parents forced to transfuse
                                                                                                                               blood to their sick children as
                                                                                                                               cancer wards become bomb…
                            RELATED: Dr. Fauci Just Gave This Sobering Update About                                            NBC News · 6 min read

                            COVID This Winter.

https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                                                                     1/6
           Case
3/1/22, 3:35 PM    2:22-cv-00149-DAK-DBP Dr.
                                         Document          2-17
                                             Fauci Just Issued This Filed  03/04/22
                                                                    Urgent Warning         PageID.138
                                                                                   to Vaccinated People Page 3 of 7
                                                                                                  Rick Steves cancels tours to
                            On Nov. 12, White House COVID adviser Anthony Fauci, MD,
                                                                                                  Russia in powerful message
                                                                                                                        Sign in to   Mail
                            went on The New York Times' podcast The Daily to discuss the          travelers
                                                                                                  Travel+Leisure · 2 min read
                            current state of the coronavirus in the U.S. According to Fauci,
                            officials are now starting to see some waning immunity against        Democrats control Congress.
                                                                                                  Why don't they legalize
                            both infection and hospitalization several months after initial       abortion?
                                                                                                  Glamour · 3 min read
                            vaccination. The infectious disease expert pointed toward
                            incoming data from Israel, which he noted tends to be about a
                            month to a month and a half ahead of us in terms of the
                            outbreak.

                            "They are seeing a waning of immunity not only against
                            infection but against hospitalization and to some extent death,

       Anthony Fauci
                            which is starting to now involve all age groups. It isn't just the
                            elderly," Fauci said. "It's waning to the point that you're seeing
                            more and more people getting breakthrough infections, and
                            more and more of those people who are getting breakthrough
                            infections are winding up in the hospital."

                            As a result of these findings, Fauci warned that vaccinated
                            people should get their booster shot, as it might actually be
                            more important than health officials first realized. "If one looks
                            back at this, one can say, do you know, it isn't as if a booster is
                            a bonus, but a booster might actually be an essential part of the
                            primary regimen that people should have," he said on The
                            Daily.

                            Fauci went on to say, "I think … that the boosting is gonna be
                            an absolutely essential component of our response, not a
                            bonus, not a luxury, but an absolute essential part of the
                            program."

                            RELATED: This Is the "Bad News" About COVID Right Now,
                            Virus Expert Warns.

                            Neither the U.S. Food and Drug Administration (FDA) nor the
                            CDC have extended booster eligibility yet to more of the general
                            public. While all Johnson&Johnson recipients are authorized to
                            get an additional shot, only high-risk Moderna and Pfizer
                            recipients are eligible, per the agencies' guidelines.

                            But some states, like California and Colorado, have recently
                            side-stepped the two agencies by expanding booster eligibility
                            to all adults in their states already. "Allow patients to self-
                            determine their risk of exposure," Tomás J. Aragón, MD, the
                            director and state public health officer for California's
                            Department of Public Health wrote in a Nov. 9 letter to local
                            health providers. "Do not turn a patient away who is requesting
                            a booster."


https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                                     2/6
           Case
3/1/22, 3:35 PM    2:22-cv-00149-DAK-DBP Dr.
                                         Document          2-17
                                             Fauci Just Issued This Filed  03/04/22
                                                                    Urgent Warning         PageID.139
                                                                                   to Vaccinated People Page 4 of 7
                            During the Nov. 12 podcast, Fauci also touted the effectiveness
                                                                                                            Sign in   Mail
                            and safety of the boosters. "We've shown that boosters are safe
                            and effective in dramatically increasing the response not only
                            immunologically, but also when you look at the clinical data from
                            Israel, it's very clear that it reverses some of the waning effect
                            that you see in people who have been vaccinated six months or
                            more," he said.

                            RELATED: For more up-to-date information, sign up for our
                            daily newsletter.

                            The need for boosters doesn't mean that the vaccines don't
                            work, however. On the contrary, Fauci stressed that he does not
       Anthony Fauci
                            think that "we've given the full rein to prove what it is that you
                            need to make them work," like additional doses. According to
                            the virus expert, researchers did not "have to time" to do
                            extensive studies to determine whether two doses would be
                            better than three, as there was a pressing need to get vaccines
                            out to people sooner rather than later, which was "life-saving for
                            millions of people," he noted.

                            Getting the unvaccinated vaccinated and "aggressively"
                            boosting the people who have been vaccinated is likely to put
                            the U.S. in a safer spot this winter than the country saw with
                            previous surges, both over the past few months and during the
                            brutal winter of 2020, Fauci said. And as more time passes,
                            we'll be able to see how long the boosters keep recipients
                            protected from COVID—but Fauci is optimistic.

                            "I think when all is said and done, as we get through boosting
                            the overwhelming majority of the people who've been primarily
                            vaccinated, we're gonna say, just like other vaccines that
                            require multiple doses, like hepatitis B, like some of the
                            childhood vaccinations, that it is likely" a booster is needed, he
                            explained. "I'm making my own personal projection as an
                            immunologist and infectious disease person. We don't have the
                            proof yet—the proof of the pudding will be after you get people
                            vaccinated and boosted, and we have a greater durability of
                            protection that doesn't wane as easily."

                            RELATED: Dr. Fauci Just Said This Is "Without a Doubt"
                            Our Top Problem With COVID.




                             548 Comments

                             Commenting on this article has ended                                Log in Sign up


https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                      3/6
           Case
3/1/22, 3:35 PM     2:22-cv-00149-DAK-DBP Dr.
                                          Document          2-17
                                              Fauci Just Issued This Filed  03/04/22
                                                                     Urgent Warning         PageID.140
                                                                                    to Vaccinated People Page 5 of 7
                                 Sort by Top
                                                                                                                              Sign in   Mail
                                                                                      Show Comments


                                 Powered by




       Anthony Fauci




           Latest Stories
                                               YAHOO LIFE

                                               Model Iskra Lawrence says her pregnancy brought up eating
                                               disorder issues
                                               Iskra Lawrence shared that she dealt with issues around control and food as
                                               her pregnancy resurfaced past eating disorder tendencies.

                                               3d ago


                                               YAHOO LIFE SHOPPING

                                               Amazon shoppers are 'in love' with these stainless steel
                                               measuring cups — save 48 percent 'til midnight
                                               They have an impressive 4.9 out of 5 star rating.



                                               5d ago


                                               YAHOO LIFE VIDEOS

                                               CNN reporter Andrew Kaczynski’s infant daughter died of a
                                               rare brain cancer. Here’s how he’s trying to improve the odds
                                               f
                                               CNN  th f Andrew
                                                    journalist ili Kaczynski and his wife Rachel Louise Ensign, a Wall
                                               Street Journal reporter, have faced the unimaginable as parents. Their baby
                                               Francesca, whom they lovingly call Beans, was diagnosed with an…
                                               1d ago


                                               IN THE KNOW BY YAHOO

                                               A simple how-to guide for starting your business
                                               From paperwork to partnerships, Carmen Perez walks you through the
                                               logistics of how to set up your own business on this episode of Getting Rich



                                               1d ago


                                               YAHOO LIFE SHOPPING

                                               You won't find a better deal on a pickleball net — Amazon has
                                               a great one on sale for $72
                                               Turn your driveway into a pickleball court — and while you're at it, grab a
                                               line-marking kit for just $16.

                                               1d ago


   YAHOO LIFE SHOPPING

   Hurry! This is your last chance to score 40 percent off the beloved 'facial in a tube'
   This beloved Kate Somerville exfoliant rarely gets marked down, so grab it ASAP.


https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                                        4/6
           Case
3/1/22, 3:35 PM    2:22-cv-00149-DAK-DBP Dr.
                                         Document          2-17
                                             Fauci Just Issued This Filed  03/04/22
                                                                    Urgent Warning         PageID.141
                                                                                   to Vaccinated People Page 6 of 7

                                                                                                                         Sign in   Mail
                                        1d ago


                                                                                      YAHOO LIFE SHOPPING

                                                                                      ‘Theater quality!’: This
                                                                                      superb soundbar is on
                                                                                        l slim
                                                                                      This f soundbar
                                                                                               j t $40connects
                                                                                                         t     to
                                                                                      a TV, laptop, phone or gaming
                                                                                      system — and the price is…
                                                                                      4d ago


                                        YAHOO LIFE SHOPPING

                                        Avid online shopper? Stay secure with these 6 tips
                                        Experts warn that scammers are getting sneaky. Stay ahead of their tricks
                                        with these smart strategies.


       Anthony Fauci                    1d ago


                                        YAHOO LIFE SHOPPING

                                        Amazon's No. 1 best-selling facial steamer is only $28—nearly
                                        60 percent off, today only
                                        This deal is so good, it almost seems like a mistake!



                                        2d ago


                                        YAHOO LIFE SHOPPING

                                        Control home appliances remotely with these smart plugs —
                                        on sale for $5 each
                                        With a few magic words and a 4-pack of these, your wishes for coffee, lights,
                                        fan and TV can be granted.

                                        1d ago


                                        YAHOO LIFE SHOPPING

                                        Set up a home gym for just $9 — Amazon has tons of
                                        dumbbells on sale
                                        Weights start at 1 pound and go all the way up to 12!



                                        4d ago


                                        YAHOO LIFE SHOPPING

                                        This travel-ready clothes steamer is just $19 at Amazon — but
                                        only 'til midnight
                                        Toss this in your suitcase for wrinkle-free clothes on the go.



                                        13h ago


                                        YAHOO LIFE SHOPPING

                                        The Bose portable bluetooth speaker will be your new travel
                                        essential —save $30 right now
                                        Durable, water-resistant, and made to be carried. At just 99 bucks, you'll
                                        wonder how you lived without it.

                                        4d ago


                                        YAHOO LIFE

                                        Are green superfood powders worth the nutritional hype?
                                        Here's what experts say.
                                        Green powders claim to be the equivalent of eating multiple servings of fruits
                                        and vegetables, but are they really healthy?

                                        4h ago




https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                                   5/6
           Case
3/1/22, 3:35 PM    2:22-cv-00149-DAK-DBP Dr.
                                         Document          2-17
                                             Fauci Just Issued This Filed  03/04/22
                                                                    Urgent Warning         PageID.142
                                                                                   to Vaccinated People Page 7 of 7
                                        YAHOO LIFE SHOPPING

                                        Get fit while you sit! This genius under-desk bike is just $159              Sign in   Mail
                                        This is the perfect way to fit in more exercise in 2022.




                                        4d ago


                                        YAHOO LIFE SHOPPING

                                        Deal alert: A bunch of Bose headphones and earbuds are on
                                        sale at Amazon right now
                                        Now's your chance to score Bose's iconic noise-cancelling headphones for a
                                        song.

                                        4d ago


                                        YAHOO LIFE SHOPPING

                                        These Jennifer Aniston–approved collagen supplements are
       Anthony Fauci                    up to 50 percent off — just for today
                                        Thousands of Amazon reviewers swear by these supplements for better hair,
                                        skin and nails.

                                        2d ago


                                        YAHOO LIFE SHOPPING

                                        The best Roku Streaming Stick 4K+ deal ever saves you $21
                                        on the top-rated streamer
                                        A great upgrade with all the bells and whistles.



                                        2d ago


                                        YAHOO LIFE SHOPPING

                                        Say goodbye to slow and spotty internet with an affordable
                                        home Wi-Fi system
                                        Weak Wi-Fi? This easy-to-use signal expander promises to boost
                                        performance throughout your home.

                                        6h ago


                                        YAHOO LIFE SHOPPING

                                        Is the CarlinKit 3.0 the best wireless Apple CarPlay adapter? I
                                        tried it, here's the verdict
                                        It works, but not perfectly, and it's just too expensive.



                                        4d ago




https://www.yahoo.com/lifestyle/dr-fauci-just-issued-urgent-201846228.html?guccounter=1                                               6/6
